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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )    Chapter 11
                                                                         )
    BARNEYS NEW YORK, INC., et al.,1                                     )    Case No. 19-36300 (CGM)
                                                                         )
                                       Debtors.                          )    (Joint Administration Requested)
                                                                         )

                            NOTICE OF COMMENCEMENT OF
                 CHAPTER 11 CASES AND HEARING ON FIRST DAY MOTIONS

             PLEASE TAKE NOTICE that on August 6, 2019 (the “Petition Date”), the

above-captioned debtors and debtors in possession (collectively, the “Debtors”), each filed a

voluntary petition for relief under chapter 11 of title 11 of the United States Code,




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Barneys New York, Inc. (1818); Barney’s Inc. (2980); BNY Catering, Inc. (4434); BNY
      Licensing Corp. (4177), and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is: 575
      Fifth Avenue New York, New York 10017.
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11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), in the United States Bankruptcy Court for the

Southern District of New York (the “Court”).

       PLEASE TAKE FURTHER NOTICE that on the Petition Date, in addition to their

chapter 11 petitions, the Debtors have filed the following first day motions and related pleadings

(collectively, the “First Day Pleadings”):

               1.      First Day Declaration. Declaration of Mohsin Y. Meghji, Chief
                       Restructuring Officer of Barneys New York, Inc., in Support of Debtors’
                       Chapter 11 Petitions and First Day Motions [Docket No. 22].

               2.      Joint Administration Motion. Debtors’ Motion Seeking Entry of an Order
                       (I) Directing Joint Administration of their Related Chapter 11 Cases and
                       (II) Granting Related Relief [Docket No. 2].

               3.      Statement of Financial Affairs and Schedules Extension Motion.
                       Debtors’ Motion Seeking Entry of an Order (I) Extending Time to File
                       Schedules of Assets and Liabilities, Schedules of Current Income and
                       Expenditures, Schedules of Executory Contracts and Unexpired Leases,
                       Statements of Financial Affairs and (II) Granting Related Relief
                       [Docket No. 23].

               4.      Creditor Matrix Motion. Debtors’ Motion Seeking Entry of an Order
                       (I) Authorizing the Debtors to File a Consolidated List of Creditors in Lieu
                       of Submitting a Separate Mailing Matrix for Each Debtor, (II) Authorizing
                       the Debtors to File a Consolidated List of the Debtors’ Thirty Largest
                       Unsecured Creditors, (III) Authorizing the Debtors to Redact Certain
                       Personally Identifiable Information for the Debtors’ Employees,
                       (IV) Approving the Form and Manner of Notifying Creditors of
                       Commencement, and (V) Granting Related Relief [Docket No. 4].

               5.      Equity Trading Motion. Debtors’ Motion for Entry of Interim and Final
                       Orders (I) Approving Notification and Hearing Procedures for Certain
                       Transfers of and Declarations of Worthlessness With Respect to Common
                       Stock and (II) Granting Related Relief [Docket No. 5].

               6.      Case Management Motion. Debtors’ Motion for Entry of Interim and Final
                       Orders Establishing Certain Notice, Case Management, and Administrative
                       Procedures [Docket No. 6].

               7.      Noticing Agent 156 (c) Retention Application. Debtors’ Application
                       Seeking Entry of an Order (I) Authorizing and Approving the Appointment
                       of Stretto as Claims and Noticing Agent and (II) Granting Related Relief
                       [Docket No. 24].

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               8.      Cash Management Motion. Debtors’ Motion Seeking Entry of Interim and
                       Final Orders (I) Authorizing the Debtors to (A) Continue to Operate Their
                       Cash Management System, (B) Honor Certain Prepetition Obligations
                       Related Thereto, (C) Maintain Existing Business Forms, and (D) Continue
                       to Perform Intercompany Transactions, (II) Granting Administrative
                       Expense Status to Postpetition Intercompany Balances, and (III) Granting
                       Related Relief. [Docket No. 8].

               9.      Taxes Motion. Debtors’ Motion for Entry of Interim and Final Orders
                       (I) Authorizing the Payment of Certain Prepetition Taxes and Fees and
                       (II) Granting Related Relief [Docket No. 9].

               10.     Insurance Motion. Debtors’ Motion for Entry of Interim and Final Orders
                       (I) Authorizing the Debtors to (A) Satisfy Obligations Related to Insurance
                       Policies, (B) Renew, Supplement, Modify, or Purchase Insurance Coverage,
                       (C) Maintain the Surety Bonds, (D) Honor the Terms of the Financing
                       Agreement and Pay Premiums Thereunder, and (E) Enter into New
                       Financing Agreements in the Ordinary Course of Business and (II) Granting
                       Related Relief. [Docket No. 10].

               11.     Wages Motion. Debtors' Motion for Entry of Interim and Final Orders
                       (I) Authorizing the Debtors to (A) Pay Prepetition Employee Wages,
                       Salaries, Other Compensation, and Reimbursable Expenses and (B)
                       Continue Employee Benefits Programs, and (II) Granting Related Relief
                       [Docket No. 11].

               12.     Lease Rejection Motion. Debtors’ Omnibus Motion for Entry of an Order
                       (I) Authorizing (A) Rejection of Certain Unexpired Leases of
                       Nonresidential Real Property, Effective as of the Rejection Date, and
                       (B) Abandonment of Any Personal Property Related Thereto, and
                       (II) Granting Related Relief [Docket No. 12].

               13.     All Vendors Motion. Debtors’ Motion for Entry of Interim and Final Orders
                       (I) Authorizing the Payment of (A) Prepetition Claims of Lien Claimants,
                       (B) Foreign Vendor Claims, (C) Section 503(B)(9) Claims, and (D) Critical
                       Vendor Claims, and (II) Granting Related Relief [Docket No. 13].

               14.     Customer Programs Motion. Debtors’ Motion for Entry of Interim and
                       Final Orders (A) Authorizing the Debtors to Maintain and Administer their
                       Existing Customer Programs and Honor Certain Prepetition Obligations
                       Related Thereto and (B) Granting Related Relief [Docket No. 14].

               15.     Utilities Motion. Debtors’ Motion for Entry of an Order (A) Prohibiting
                       Utility Providers from Altering, Refusing, or Discontinuing Utility Service,
                       (B) Determining Adequate Assurance of Payment for Future Utility
                       Services, (C) Establishing Procedures for Determining Adequate Assurance
                       of Payment, and (D) Granting Related Relief [Docket No. 15].

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               16.     DIP Motion. Debtors’ Motion for Entry of Interim and Final Orders
                       (A) Authorizing the Debtors to Obtain Postpetition Financing,
                       (B) Authorizing the Debtors to use Cash Collateral, (C) Granting Liens and
                       Providing Superpriority Administrative Expense Status, (D) Granting
                       Adequate Protection to the Prepetition Lenders, (E) Modifying the
                       Automatic Stay, (F) Scheduling a Final Hearing, and (G) Granting Related
                       Relief [Docket No. 20].

       PLEASE TAKE FURTHER NOTICE that on the Petition Date, in addition to their

chapter 11 petitions and the First Day Pleadings, the Debtors have filed the following motions and

related pleadings to be heard at a later date (collectively, the “Later Hearings Pleadings”):

               1.      Lease Rejection Motion. Debtors’ Omnibus Motion for Entry of an Order
                       (I) Authorizing (A) Rejection of Certain Unexpired Leases of
                       Nonresidential Real Property, Effective as of the Rejection Date, and
                       (B) Abandonment of Any Personal Property Related Thereto, and
                       (II) Granting Related Relief [Docket No. 12].

               2.      Utilities Motion. Debtors’ Motion for Entry of an Order (A) Prohibiting
                       Utility Providers from Altering, Refusing, or Discontinuing Utility Service,
                       (B) Determining Adequate Assurance of Payment for Future Utility
                       Services, (C) Establishing Procedures for Determining Adequate Assurance
                       of Payment, and (D) Granting Related Relief [Docket No. 15].

       PLEASE TAKE FURTHER NOTICE that a hearing (the “First Day Hearing”) to

consider the above motions has been scheduled by the Court for August 6, 2019, at 3:30 p.m.

(prevailing Eastern Time), with such hearing to be held before the Honorable Cecelia G. Morris,

United States Bankruptcy Judge, United States Bankruptcy Court for the Southern District of

New York, at the United States Bankruptcy Court for the Southern District of New York, 355 Main

Street, Poughkeepsie, New York 12601, in accordance with the Court’s schedule. The Debtors

have requested that the Court consider the relief requested in the First Day Pleadings on a final

basis, in certain cases, or on an interim basis pending a final hearing to be scheduled at a later date.

The Debtors will file an agenda in advance of the First Day Hearing.

       PLEASE TAKE FURTHER NOTICE that copies of the First Day Pleadings and Later

Hearing Pleadings may be obtained free of charge by visiting the website of Stretto at

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http://www.case.stretto.com/barneys. You may also obtain copies of any pleadings by visiting the

Court’s website at http://www.nysb.uscourts.gov in accordance with the procedures and fees set

forth therein.

        PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should

read the First Day Pleadings carefully and discuss them with your attorney, if you have one

in connection with the chapter 11 cases. (If you do not have an attorney, you may wish to

consult with one).

        PLEASE TAKE FURTHER NOTICE that if you do not want the Court to grant the relief

requested in the First Day Pleadings, or if you want the Court to consider your views on the First

Day Pleadings, then you or your attorney must attend the First Day Hearing. If you or your

attorney do not take these steps, the Court may decide that you do not oppose the relief sought in

the First Day Pleadings and may enter orders granting the relief requested in the First Day

Pleadings.




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Dated: August 6, 2019           /s/ Joshua A. Sussberg, P.C.
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